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HON. THOMAS 58. ZILLY

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON AT SEATTLE

IN THE MATTER OF THE COMPLAINT }

OF KATMAI FISHERIES, INC., AS )
OWNER AND/OR OPERATOR OF THE | ) Case No. C09-0446TSZ
VESSEL KATMAI, OFFICIAL NUMBER )
918779, FOR EXONERATION FROM ) ANSWER AND CLAIM

AND/OR LIMITATION OF LIABILITY — }
)

 

 

 

Pursuant to Supplemental Admiralty Rule F (5), Armond Harper as personal
representative of the Estate of Glenn Harper (hereinafter referred to as Claimant),
answers and makes claim im response to Plaintiffs’ complaint for exoneration from
and/or limitation of lability as follows:

ANSWER

i. Paragraph | of Plaintiffs’ complaint is a jurisdictional statement to
which no answer is required; to the extent an answer is required, Claimant admits only
that this is an admiralty and maritime claim.

2. Paragraph 2 of Plaintiffs’ complaint is a jurisdictional statement to

ANSWER AND CLAIM - 1

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which no answer is required; to extent an answer is required, Claimant admits only
that this Court is only one of several courts in which venue may be proper.

3. Claimant admits that at the time of filing of this action not more than
six months had elapsed since the sinking of the KATMAI.

4, Claimant admits paragraph 4 of Plaintiffs’ complaint.

5. Claimant is without knowledge or information sufficient to form a
belief as to the truth of the averments of paragraph 5 of Plaintiffs’ complamt and
therefore denies the same.

6, Claimant admits only the following allegations of Plaintiffs’ complaint
paragraph 6: it is admitted that Katmai Fisheries, Inc. was one of the owners,
operators and managers of the KATMAL

7. Claimant denies paragraph 7 in its entirety.

8. Claimant admits only that the KATMAT departed for Dutch Harbor on
or about August 13, 2008. Claimant is without sufficient knowledge or information to
forin a belief as to the remaining averments of paragraph 8 and therefore denies the
same,

9. Claimant admits paragraph 9.

10. Claimant denies paragraph 10, as various articles and wreckage were
recovered from the sunken vessel including the vessel’s life rafis.

11. Claimant is without sufficient knowledge or information to form a

ANSWER AND CLAIM - 2

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belief as to the averments of paragraph 1 1and therefore denies the same

12, Claimant demes paragraph 12 in its entirety.

13. Claimant denies paragraph 13 in its entirety

14. Clatmant denies paragraph 14 in its entirety.

13, Claimant is without knowledge or information sufficient to form a

belief as to the truth of the factual averments of paragraph 15 of Plaintiffs’ complaint
and therefore denies the same

16. Claimant admits paragraph 16.

17. Claimant is without knowledge or information sufficient to form a
belief as to the truth of the factual averments of paragraph 17 of Plaintiffs’ complaint
and therefore denies the same

18. Claimant is without knowledge or information sufficient to form a
belief as to the truth of the factual averments of paragraph 18 of Plaintiffs’ complaint
and therefore denies the same

19, Claimant is without knowledge or information sufficient to form a
belief as to the truth of the factual averments of paragraph 19 of Plaintiffs’ complaint
and therefore denies the same.

20. Claimant is without knowledge or information sufficient to form a
belief as to the truth of the factual averments of paragraph 20 of Plaintiffs’ complaint

and therefore denies the same.

ANSWER AND CLAIM - 3
Case No. C09-0446TSZ BEARD STACEY

 

 

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21, Claimant is without knowledge or information sufficient to form a
belief as to the truth of the factual averments of paragraph 21 of Plaintiffs’ complaint
and therefore denies the same.

22. Claimant 1s without knowledge or information sufficient to form a
belief as to the truth of the factual averments of paragraph 22 of Plaintiffs’ complaint
and therefore demies the sare.

23. Claimant is without knowledge or information sufficient to form a
belief as to the truth of the factual averments of paragraph 23 of Plaintiffs’ complaint
and therefore denies the same.

24, Claimant admits only that Plaintiffs’ complaint paragraph 24 recites
portions of the Limitation of Liability Act. Claimant notes that Plaintiffs fail to
include that 46 USC Sec. 30505 (a) specifically incorporates by reference 46 USC Sec.
30506 which, in part at sub paragraph (e), imputes to vessel owners the privity and
knowledge of the master or owner’s superintendent or managimg agent, at or before the
beginning of the voyage. Claimant specifically demies that the Limitation of Liability
Act is applicable to this case as the KATMALI’S loss was caused by the negligence and
unseaworthiness of said vessel within the privity and knowledge of Plaintiffs.

25. Claimant admits only Plaintiffs’ “desire” to invoke the benefits of 46
USC Sec. 30501 and specifically denies that Plaintiffs are entitled to imitation or

exoneration from hability.

ANSWER AND CLAIM - 4
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26. Claimant denies that Plaintiffs are entitled to a continued injunction in
this matter, and therefore denies Plaintiffs’ prayer for relief contained in Plaintiffs’
complaint paragraph 26. Plaintiff denies all alleged entitlements and relief Plaintiff
seeks in paragraph 26.

27. Claimant admits only that Plaintiffs have not offered a stipulation for
value and denies the remaining allegations of paragraph 27.

28. Claimant only admits that Plaintiff has not posted security for the
KATMAI. Claimant denies any entitlements or rights asserted in paragraph 28,

29. Claimant admits only that Plaintiff has posted some security for costs,

but denies that the amount is true and correct.
CLAIM FOR DAMAGES

Claimant, in his representative capacity as the personal representative of the
estate of Glenn Harper (Harper), makes claims for damages against the Plaintiffs for
all statutory beneficiaries of decedent Harper, which includes his minor daughter
Saleena, and mother Martha Purifoy. Claimant alleges and avers as follows:

1. Claimant hereby files and asserts the following claims in personam and
in rem. Said claims are within the admiralty and maritime jurisdiction of this Court.
Claimant demands trial by jury pursuant to the Jones Act, 46 USC §30104 et. seq. and
upon dismissal of Plaintiffs’ complaint for limitation of liability and/or exoneration

from lability, Clanmants seeks adjudication of their damages in State Court pursuant

ANSWER AND CLAIM - 5

27 - BEARD STACEY
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to the Savings to Suitors Clause, (28 USC 1333).

2, Claimant is the duly appointed personal representative of the Estate of
Glenn Harper. Glenn Harper is referred to herein as Decedent.

3. At the time of his death, Decedent was not married. Decedent is
survived by his minor daugther Saleena and his mother, Martha Purtfoy.

4, At all times relevant hereto, Harper was employed by Plaintiffs as a
seaman aboard the KATMAI. Plaintiffs are liable for the injury and death of Decedent
under the Jones Act, the Death On the High Seas Act, and the general maritime law.

5, On October 22, 2008 and at all other times relevant hereto, Plaintiff
Katmai Fisherires Inc., was one of the owners, operators, charterers, and managers of
the KATMAT.

6. On October 22, 2008, due to the unseaworthiness of the KATMAI and
the negligence of the Plaintiffs, the KATMAI sank and Decedent died. At the time of
his death, Decedent was just 35 years old.

7. The unseaworthiness of the KATMAL which was the legal cause of
Decedent’s injury and death, was within the privity and knowledge of Plaintiffs.

8. The KATMAI was unseaworthy prior to its departure on its final
voyage. Plaintiffs are imputed with all unseaworthy conditions that preexisted the
KATMAT’S final voyage. A reasonably prudent owner in the exercise of reasonable

care would have discovered said unseaworthy conditions and remedied those

conditions prior to the vessel’s departure.

ANSWER AND CLAIM - 6

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9, The negligent acts and omissions of Plaintiffs, their agents, employees
and officers that caused Decedent’s injury and death was within the privity and
knowledge of Plaintiffs. A reasonably prudent employer exercising reasonable care
for the safety of its crewmen would have prevented and avoided the sinking of the
KATMAI. The negligent acts and omissions of Plaintiffs played a part, no matter how
small, in causing Decedent’s death.

10. Prior to his death, Decedent experienced severe predeath pain and
suffering, emotional distress and physical injuries.

11. The death of Decedent has destroyed his wage earning capacity, and he
is unable to provide economic support for his statutory beneficiaries.

12, As aresult of his death, Decedent is unable to provide valuable services
to his statutory beneficiaries including his daughter and his mother.

13. As a result of Ins death, Decedent is unable to provide care, nurture and
guidance to his daughter Seleena.

r4, As a result of Decedent’s death, his legal beneficiaries have suffered
pecuniary losses for which the Plaintiffs are lable. Decedent’s legal beneficiaries’
damages first occurred on October 22, 2008 and are continuing in nature.

15. Claimant makes claim for all damages permissible under the law,
including damages for Decedent’s predeath pain and suffering, emotional distress, and
his beneficiaries’ pecuniary losses mcluding, but not limited to, loss of financial

support, loss of services, and loss of care, nurture and guidance.

ANSWER AND CLAIM - 7
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16. Decedent was not contributorily negligent in the cause of the sinking of
the KATMAI.

17. Decedent was not contributorily negligent in causing his own death.

18. Claimant denies Plaintiffs are entitled to limitation of or exoneration
from liability.

19. Claimant incorporates by reference the allegations and statements of his
complaint in King County Cause No. 09-2-02119-8SEA.

20, To the extent a claim for a specific dollar amount is required to be
made herein by Supplemental Admiralty Rule F (5), clarmant makes demand and
claim im the amount of 1.5 Million Dollars, or such further higher amount upon the
evidence a jury may find to be just and proper.

PRAYER FOR RELIEF

WHEREFORE, Claimant prays as follows:

1, That the stipulation for value of zero be adjudged decreed and found
not to be the true value of the KATMAL its tackle, gear, equipment, fuel, licenses,
permits, fishing quotas, and fishing rights, and that such value be ordered increased to
reflect the true and accurate value of the KATMAI; and

2. Plaintiffs’ complaint for exoneration and limitation of lability be
denied and the action dismissed; and
3. Plaintiffs had privity and knowledge of unseaworthy conditions that

were a legal cause of the smking of the KATMAI and the injury and death of Glenn

ANSWER AND CLAIM - 8
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Harper; and

4, Plaimtiffs had privity and knowledge of negligent acts and omissions
that were a cause of the sinking of the KATMAI and the injury and death of Glenn
Harper; and

5. The injunction against prosecution of claims against the Plaintiffs
arising out of the sinking of the KATMAI be lifted and dissolved; and

6. Claimant be entitled to elect to pursue his claims for damages in State
Court with right to jury trial pursuant to the savings to suitor’s clause, 28 USC 1331,
and the holding of the SILVER PALM 94 F, 2d 776, 780 (9" Cir. 1937) or, in the
alternative, that Claimants be found to be entitled to their damages claimed of
$1,500,000; and

7. Plaintiffs’ prayers for relief be denied; and

8. Judgment be entered finding Plaintiffs liable for the injury and death of
Glenn Harper; and

9. Claimant be awarded fees, costs and interest as may be permitted by
law.

Dated this 4 | day of May, 2009, at Seattle, Washington.

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& JACOBSEN, LLP

   
 

  

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ANSWER AND CLAIM -9

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Attorneys for Claimant Armond Harper,

as Personal Representative of the Estate
Of Glenn Harper, Jr.

CERTIFICATE OF SERVICE

Thereby certify thaton May /_, 2009, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system which will send
notification of such filing to the following:

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ANSWER AND CLAIM - 10

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